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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                        CR 12-82-GF-BMM

                    Plaintiff,                          ORDER

 vs.

 BILLIE JOE BULLSHIELDS,

                    Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on November 16, 2016. Defendant admitted that

she had violated the conditions of her supervised release by consuming alcohol.

Judge Johnston found the admission sufficient to establish the supervised release

violation. He recommended that this Court revoke Defendant's supervised release

and commit her to the custody of the United States Bureau of Prisons for a term of

imprisonment of four months, with 20 months of supervised release to follow.

Judge Johnston further recommended that the period of supervised release include

substance abuse treatment at Passages Treatment Center in Billings, Montana, and

six months at a Residential Reentry Center.

       No objections were filed by either party. Judge Johnston’s findings
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and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted she

had violated the conditions of her supervised release. Defendant could be

incarcerated for up to 36 months, followed by 24 months of supervised release less

any custody time imposed. The United States Sentencing Guidelines call for a

term of imprisonment of four to 10 months. A sentence of four months in custody,

followed by 20 months of supervised release is appropriate. The sentence is

sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 236) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 12th day of December, 2016.




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